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     Manuel Keith
 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                        )       No. CR-S-11-190 MCE
                                                      )
11                                                    )
               Plaintiff,                             )       STIPULATION REGARDING
12                                                    )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
13                                                    )       ORDER
     MANUEL KEITH, et al.,                            )
14                                                    )       Date: December 10, 2015
                                                      )       Time: 9:00 a.m.
15             Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
                                                      )
16                                                    )
                                                      )
17
               The United States of America through its undersigned counsel, Jason Hitt, Assistant
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19   United States Attorney, together with counsel for defendant Manuel Keith, Jan David Karowsky,

20   Esq. hereby stipulate to the following:
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          1. By previous order, this matter was set for status conference on December 10, 2015.
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          2. By this stipulation, Manuel Keith now moves to continue the status conference until
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24
     February 25, 2016 and to exclude time between December 10, 2015 and February 25, 2016

25   under Local Codes C and M.
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          3.   The parties agree and stipulate and request the Court find the following:
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     a. At the last status conference in this case, on November 20, 2015, it was expected by
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 2      all parties that Mr. Keith would be entering a guilty plea pursuant to a written plea

 3      agreement, to which all parties had agreed. However, on November 18, 2015,
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        counsel was informed that Mr. Keith had been detained in New York City on certain
 5
        criminal charges. Counsel has inquired of the attorney representing Mr. Keith on the
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 7
        New York charges, and has been informed that he remains detained, since he has not

 8      been able to post bail. Counsel has no information concerning when Mr. Keith may
 9      be available to come to Sacramento to enter a guilty plea. Therefore, Mr. Keith
10
        requests a continuance of the status conference to February 25, 2016, by which time it
11
        is hoped more definite information may be available.
12

13   b. The Government does not object to the continuance.

14   c. Based on the above-stated findings, the ends of justice served by granting the
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        requested continuance outweigh the best interests of the public and the defendant in a
16
        speedy trial within the original date prescribed by the Speedy Trial Act.
17
     d. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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19      Section 3161(h)(7)(A) within which trial must commence, the time period from

20      December 10, 2015 through February 25, 2016, inclusive, is deemed excludable
21
        pursuant to 18 United States Code Section 3161(h)(1)(B), other state charges are
22
        pending, and (h)(3)(A & B) unavailability of the defendant, pursuant to
23

24
        corresponding Local Codes C and M, because it results from a continuance granted

25      by the Court at defendant’s request on the basis of the Court’s finding that the ends of
26      justice served by taking such action outweigh the best interest of the public and the
27
        defendant in a speedy trial.
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                                              2
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       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
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 2          Speedy Trial Act dictate that additional time periods are excludable from the period within

 3          which a trial must commence.
 4
     IT IS SO STIPULATED.
 5

 6   DATED:         December 10, 2015                      BENJAMIN WAGNER
                                                           United States Attorney
 7

 8
                                                           /s/ Jason Hitt

 9                                                by
                                                           Jason Hitt
10                                                         Assistant U.S. Attorney
11
                                                           by Jan David Karowsky
                                                           w/ Mr. Hitt’s consent
12

13
     DATED:         December 10, 2015                      JAN DAVID KAROWSKY
14                                                         Attorney at Law
                                                           A Professional Corporation
15
                                                           /s/ Jan Karowsky
16

17                                                by
                                                           JAN DAVID KAROWSKY
18                                                         Attorney for Defendant
                                                           Manuel Keith
19

20
                                                 ORDER
21
             IT IS SO ORDERED.
22
     Dated: December 10, 2015
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